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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK


NANCY G. MALONEY,
Individually and on Behalf of All Others Similarly
Situated,

                               Plaintiff,

      v.                                                Civil Action No.: 1:17-cv-05662-LDH-RER

FORTERRA, INC., JEFFREY BRADLEY,
WILLIAM MATTHEW BROWN, LORI M.
BROWNE, KYLE S. VOLLUZ, KEVIN
BARNER, ROBERT CORCORAN, SAMUEL D.
LOUGHLIN, CLINT MCDONNOUGH, JOHN                             CORPORATE DISCLOSURE
MCPHERSON, CHRIS MEYER, JACQUES                                   STATEMENT
SARRAZIN, CHADWICK SUSS, GRANT
WILBECK, GOLDMAN, SACHS & CO.,
CITIGROUP GLOBAL MARKETS INC., and
CREDIT SUISSE SECURITIES (USA) LLC,

                               Defendants.



           Pursuant to Fed. R. Civ. P. 7.1, Defendant Forterra, Inc. submits the following disclosure

statement.      Forterra, Inc. does not have a parent corporation nor does any publicly held

corporation own 10% or more of its stock.
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Dated: New York, New York          Respectfully submitted,
       November 30, 2017

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